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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


  NATIONAL TPS ALLIANCE, et al.,                   Case No.25-cv-01766-EMC
                Plaintiffs,

          v.

  KRISTI NOEM, et al.,
                Defendants.



                      NOTICE REGARDING VIDEO RECORDING

       A request has been made to video record the March 24, 2025, Plaintiffs’ Motion to

Postpone Effective Date of Agency Action in this case pursuant to General Order 65, Cameras in

the Courtroom Pilot Project.



(X )   All parties have consented to the video recording of the proceeding; unless otherwise

       ordered by the presiding judge, the proceeding will be video recorded as part of the Pilot

       Project. See cand.uscourts.gov/cameras for more information.



( )    At least one party has opposed the request to video record and/or the Court has denied the

       request; the proceeding will not be video recorded.



Dated: 3/11/2025                                    Mark B. Busby, Clerk of Court



                                                    Signature of Clerk or Deputy Clerk
